
65 N.Y.2d 788 (1985)
National Bank of North America, Respondent,
v.
Anthony Alizio et al., Appellants, et al., Defendants.
Court of Appeals of the State of New York.
Argued May 30, 1985.
Decided June 28, 1985.
Joel Spector for Anthony Alizio and another, appellants.
Sydney Friedler for Irving Eisenberg and another, appellants.
David W. Shapiro and Robert E. Kushner for respondent.
Chief Judge WACHTLER and Judges JASEN, MEYER, SIMONS, KAYE, ALEXANDER and TITONE concur.
*790MEMORANDUM.
The order of the Appellate Division should be affirmed, with costs, for the reasons stated in the memorandum opinion of that court.
We add only that plaintiff was entitled to summary judgment on its cause of action seeking reimbursement for the amounts it paid under the letter of credit, despite its failure to issue sight drafts as contemplated by the parties, as it was both the issuer and the beneficiary of the letter of credit. In addition it is noted that defendants neither contested at Special Term plaintiff's assertion that the moneys were in fact disbursed to pay for obligations of the partnership, nor alleged that they were in any way prejudiced by the plaintiff's method of drawing on the letter of credit.
Order affirmed, with costs, in a memorandum.
